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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA FLORIDA 4

 

UNITED STATES OF AMERICA, )

ex rel. )

EILEEN DORIN )
) ot —

Plaintiffs, ) CASENO. 3 OLY ILS 1 A6

) —_—

v. ) DIVISION: )B mM
)

CAREER EDUCATION CORPORATION __+) FILED IN CAMERA
) UNDER SEAL
)
)

Defendant.
COMPLAINT UNDER THE QUI TAM PROVISIONS
OF THE FALSE CLAIMS ACT
INTRODUCTION

1. This is an action brought by Relator, Eileen Dorin, on behalf of the United States of
America, to recover damages and civil penalties against Defendant, Career Education Corporation,
pursuant to the Federal Civil False Claims Act, Title 31 U.S.C. §§ 3729 et seq., (“FCA”).

2, Relator’s gui fam action alleges that Defendant has submitted and/or caused to be
submitted false and fraudulent records to the U.S. Department of Education in order to cause the
federal government to qualify students enrolled at Defendant’s school for federal grants in aid,
including federal Stafford loans.

3. The FCA provides that any person who submits a false claim to the government is -
lable for a civil penalty of between $5,500 and $11,000 for each such claim, and three times the
amount of the damages sustained by the government. The Act permits persons having information

regarding a false or fraudulent claim against the government to bring an action on behalf of the

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government and to share in any recovery. Pursuant to 31 U.S.C. § 3730(b)(2), this complaint must
be filed in camera and under seal, without service on the defendant. The complaint remains under
seal while the government conducts an investigation of the allegations in the complaint and
determines whether to join the action.

JURISDICTION AND VENUE

4, This Court has jurisdiction over the subject matter of this action pursuant to Title 31
U.S.C. §§ 3730(b) and 3732(a), which specifically confer jurisdiction on this Court for actions
brought pursuant to The False Claims Act.

5. This Court has personal jurisdiction over Defendant pursuant to 31 U.S.C.

§ 3732(a), which authorizes nationwide service of process, Defendant can be found in, resides in,
or has transacted business in the Middle District of Florida.

6. Venue is proper in this District pursuant to 31 U.S.C. § 3732(a) because Defendant
can be found in, resides in, or has transacted business in the Middle District of Florida, and many
of the alleged acts occurred in this District.

7. No allegation set forth in this Complaint is based on a public disclosure of allegations
or transactions in acriminal, civil, or administrative hearing, in a congressional, administrative, or
General Accounting Office report, hearing audit, or investigation, or from the news media.

THE PARTIES

8. Relator, Eileen Dorin, is a resident of Tampa, Hillsborough County, Florida. Ms.
Dorin was employed as an admissions representative at the Sanford-Brown Institute (hereinafter
“Sandford-Brown’”) located at 5701 E. Hillsborough Ave., Tampa, Florida, which is a vocational

school that offers degrees in the medical support field. Sanford-Brown is owned and operated by

 
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Defendant Career Education Corporation.

9. Defendant, Career Education Corporation (hereinafter “CEC” or “Defendant”), is
headquartered in Hoffman Estates, Cook County, Illinois. CEC claims to be the world’s largest on-
campus provider of private, for-profit postsecondary education and has a growing presence in the
area of online education. The colleges, schools and universities that are part of the CEC family offer

educational services to more than 95,000 students across the world in a variety of career-oriented

disciplines.
FACTUAL ALLEGATIONS
10. | Relator worked as an admissions representative at Sanford-Brown from September
2005 to July 2006.
11, There are more than 500 students enrolled at Sanford-Brown and almost all of these

students are receiving federal grants in aid, including federal Stafford loans. The average amount
of federal assistance received by each student who is approved for federal aid at Sanford-Brown is
approximately $20,000, and the educational programs vary in length from nine to eighteen months.

12. Inorder to qualify for federal assistance, students must provide proof of graduation
from high schoo! and a valid social security number. Through her employment at Defendant’s
Sandford-Brown Institute, Relator became aware that Defendant was falsifying records in order to
qualify students for federal aid by listing fraudulent social security numbers for students and/or by
falsely representing that students had provided proof of high school graduation.

13. ~—As a result of falsely certifying eligibility on students’ applications for federal
assistance, Defendant received federal funds to which it was not entitled.

14. _—_— Relator brought the information regarding Defendant’s fraudulent activities to the

 
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attention of company officials who initiated an internal audit. Relator was not informed of the
results of the audit.

15. Defendant has submitted and/or caused to be submitted false and fraudulent records
to the U.S. Department of Education in order to receive funds in connection with federal grants in
aid, including Stafford loans.

16. |The Government has suffered actual monetary damage by paying the fraudulent
claims submitted or caused to be submitted by Defendant.

COUNT ONE
Violation of False Claims Act, 31 U.S.C. § 3729(a)

17. Relator realleges and incorporates by reference the allegations of paragraphs 1-16
of this complaint.

18. This count sets forth claims for treble damages and forfeitures under the federal
False Claims Act, 31 U.S.C. §§ 3729-3732, as amended.

19. As described above, Defendant’s submission of false and fraudulent records to the
U.S. Department of Education has caused the federal government to provide students enrolled at
Defendant’s school with federal grants in aid.

20. Defendant has knowingly violated:

(a) 31 U.S.C. § 3729(a)(1) by knowingly presenting, or causing to be presented, to an

officer or employee of the United States Government or a member of the Armed
Forces of the United States a false or fraudulent claim for payment or approval;
and

(b) 31 U.S.C. § 3729(a)(2) by knowingly making, using, or causing to be made or
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used, a false record or statement to get a false or fraudulent claim paid or
approved by the Government.

21. The United States, unaware of the falsity of the claims, approved, paid, and
participated in payments made by the United States for claims that otherwise would not have
been allowed.

22. +‘ By reason of these payments and approvals, the United States has been damaged,

and possibly continues to be damaged, in an amount yet to be determined.

PRAYER FOR RELIEF
WHEREFORE, Relator requests that judgment be entered against Defendant, ordering
that:
a. Defendant pay an amount equal to three times the amount of damages the United
States has sustained because of Defendant’s actions, plus a civil penalty against Defendant of not

less than $5,500, and not more than $11,000 for each violation of 31 U.S.C. § 3729;

b. Relator be awarded the maximum amount allowed pursuant to 31 U.S.C. §
3730(d);

c. Defendant cease and desist from violating the False Claims Act, 31 U.S.C. § 3729
et seq.;

d. Relator be awarded all costs of this action, including attorneys’ fees, expenses,

and costs pursuant to 31 U.S.C. § 3730(d); and
e. The United States and Relator be granted all such other relief as the Court deems

just and proper.
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DEMAND FOR JURY TRIAL

A jury trial is requested in this cause.

 

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CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing complaint was served by
#A
United States Mail this aay of dep te mive € , 2006, upon the following:

Honorable Paul I. Perez

United States Attorney

Middle District of Florida

400 North Tampa Street, Suite 3200
Tampa, Florida 33602

Honorable Alberto R. Gonzales
Attomey General of the United States
U.S. Department of Justice

950 Pennsylvania Ave., NW
Washington, D.C. 20530-0001

Elaine Stromgren
